135 F.3d 765
    21 Employee Benefits Cas. 2293
    Lehigh Valley Hospital Centerv.Tasia Rallis v. Transworld Music Corporation, TravelersInsurance Company, d/b/a Travelers, Transworld Music Corp.Association Benefit Plan, Travelers Plan Administrators ofConnecticut; Tasia Rallis v. Trans World Music CorporationAssociate Benefit Plan
    NO. 96-1436
    United States Court of Appeals,Third Circuit.
    Dec 08, 1997
    
      1
      Appeal From:  E.D.Pa. ,Nos.9503082, 9503511
    
    
      2
      Reversed.
    
    